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                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA

 CHRISTOPHER D EUSTICE,                                :   NO. 3:18-CV-01008-SDD-RLB
                                                       :
         Plaintiff,                                    :   CHIEF JUDGE SHELLY D. DICK
                                                       :
 VERSUS                                                :   MAGISTRATE JUDGE
                                                       :
                                                       :   RICHARD L. BOURGEOIS, JR.
 STATE OF LOUISIANA THROUGH THE                        :
 BOARD OF SUPERVISORS OF LOUISIANA                     :
 STATE UNIVERSITY AND AGRICULTURAL                     :
 AND MECHANICAL COLLEGE; MEGAN C.                      :
 MARTTER; AND RYAN BARSA,                              :
                                                       :
         Defendants.                                   :


                                 AMENDED STATUS REPORT

A.       JURISDICTION

         The Court has jurisdiction over this matter pursuant to 42 U.S.C. § 1983; 28 U.S.C. §

1343(a)(1),(2),(3)and(4); 28 U.S.C. § 1331; 28 U.S.C. § 1332; 28 U.S.C. § 1367; 29 U.S.C. § 794

and 42 U.S.C. §§ 12131-12150.


B.       BRIEF EXPLANATION OF THE CASE

         1.      Plaintiff claims: Mr. Christopher Eustice asserts that he graduated as valedictorian

         of his high school in 2012 and is an Eagle Scout. Mr. Eustice asserts that he experienced

         unfair scrutiny at Texas A&M University and transferred to LSU in January 2015. Mr.

         Eustice asserts that he will ultimately prevail in the ongoing legal battle against Texas

         A&M, and that LSU has thoroughly reviewed and determined on two separate occasions

         and with a hearing panel that Mr. Eustice was dismissed from Texas A&M for the unjust

         reason of receiving a lab report from a fellow student after the due date for the assignment

         had passed. Mr. Eustice asserts that his problems with LSU were largely a result of


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         retaliation due to filing a lawsuit against the close friends of LSU Administrator Matthew

         Gregory, who at the time was the President and 7 year member of a Texas A&M club for

         the very same student conduct administrators who the Plaintiff was suing. Dr. Gregory

         abused unconstitutionally vague student rules and recommended sanctions and a finding

         of responsibility to his hearing panels openly and in advance of his hearings. Dr. Gregory

         fabricated evidence and destroyed and covered up evidence that would have exonerated

         the Plaintiff. Dr. Gregory harassed the Plaintiff by filing 4 meritless cases against the

         Plaintiff. A few LSU students abused the oppressive speech codes and unconstitutionally

         vague student rules and initiated proceedings against the Plaintiff for asserting his legal

         rights when they were violated by those students. Some of those students also bullied or

         harmed the Plaintiff through other means. The Plaintiff experienced problems with ADA

         accommodations and experienced first amendment retaliation and ADA retaliation on

         numerous occasions. The Plaintiff was falsely arrested by the LSU Police who intentionally

         withheld facts and distorted an affidavit in order to mislead a judge into believing that the

         Plaintiff was trying to extort sex from a female student named Ms. Megan Martter, when

         he was actually being very considerate of others and simply asserting his legal rights. The

         Plaintiff acted reasonably in light of the abuse he was experiencing, did everything he could

         to deescalate the situation, and yet he became the victim of a warped agenda being

         promoted by Administrators who openly display their gender bias. This warped agenda

         was developed in response to outdated Title IX policies previously promulgated by the

         Department of Education between 2011 and 2016. The exact guidelines that Universities

         were expected to follow were unclear, leading to panicked overcompliance by some

         Universities as they renewed their attention to eradicating all possible sexual misconduct.



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         These outdated policies resulted in some University Administrators being willing to violate

         legal and constitutional rights of students accused of sexual misconduct in order to keep

         their federal funding at all costs. These legal violations have resulted in lawsuits all over

         the nation brought by primarily male victims of gender discrimination. Plaintiff was

         ultimately suspended for a semester, and LSU has refused to readmit the Plaintiff in

         retaliation to his filed legal complaints. Officer Palermo is no longer employed by LSU

         and, upon Plaintiff’s information and belief, was removed from his position for false

         arresting the Plaintiff.

         2.      The LSU Defendants claim: The LSU Defendants deny any and all liability to the

         Plaintiff, who was suspended from LSU for the Spring 2018 semester after a lengthy series

         of academic and disciplinary problems that are well-documented in the record. On each

         such occasion, the Plaintiff received written notice of the charges against him and was

         given a full hearing before any consequences were imposed. The Plaintiff’s arrest for

         cyberstalking (not for sexual misconduct as the Plaintiff alleges) was pursuant to a warrant

         properly issued by a Judge of the Nineteenth Judicial District Court and based on a proper

         affidavit of an LSU Police Officer, which affidavit was based on complaints received by

         the LSU Police Department. The LSU Defendants deny that they unlawfully discriminated

         against the Plaintiff on any basis, deny that they unlawfully retaliated against the Plaintiff,

         deny that they unlawfully refused any requested reasonable accommodations, deny that

         they denied or violated any of the Plaintiff’s constitutional rights, deny that they defamed

         the Plaintiff, denies that it breached any contractual obligations that might have been owed

         to the Plaintiff, deny that the Plaintiff was falsely arrested, wrongfully imprisoned, and

         maliciously prosecuted, deny that the Plaintiff’s disciplinary proceedings were marked by



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         procedural flaws, sex-based bias, and/or selective enforcement, deny that the Plaintiff was

         subjected to a hostile educational environment, and deny that the Plaintiff was subjected to

         an erroneous outcome. The Plaintiff’s problems at LSU appear to be a continuation of the

         problems he had at Texas A&M, where he was previously a student and where he was

         failed in a class after being accused of cheating and was eventually suspended for two years

         for plagiarism. Defendant Officer Andrew Palermo voluntarily left his employment with

         LSU on good terms to go to work for the East Baton Rouge Parish Sheriff’s Office.

         3.     Defendant (Ryan Barsa) claims: Mr. Barsa denies any and all liability to the

         Plaintiff. Mr. Barsa denies all allegations. Mr. Barsa was harassed by Mr. Eustice through

         electronic means back in 2015. Following the messages sent by Eustice, Mr. Barsa felt

         threatened and reported him to the LSU Police Department. Mr. Barsa decided to not press

         charges against Eustice and to allow the LSU Office of Student Advocacy and

         Accountability handle the issue, hoping that Mr. Eustice would not do this to others in the

         future. Plaintiff has caused Defendant Barsa and many other LSU students and faculty

         emotional stress due to his repeated harassment through electronic means.


C.       PENDING MOTIONS

         1.     Defendant LSU’s Motion To Dismiss Pursuant To Rule 12(b)(6) (R. Doc. 16). The

         motion was filed on March 15, 2019. The basis of the motion is the Plaintiff’s failure to

         state a claim in his Complaint and Amended Complaint upon which relief can be granted.

         In particular, there are legal deficiencies with almost all of the Plaintiff’s claims, which

         deficiencies are obvious from the four corners of the Complaint and Amended Complaint;

         additionally, almost all of the Plaintiff’s claims are prescribed on their face.




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         2.     Defendant Ryan Barsa filed a Motion To Dismiss Pursuant To Rule 12(b)(6) (R.

         Doc. 18) on March 22, 2019. The basis of the motion is the Plaintiff’s failure to state a

         claim in his Complaint and Amended Complaint upon which relief can be granted.

         Additionally, most if not all of the Plaintiff’s claims are prescribed on their face.

         3.     Rule 12(b)(6) Motion To Dismiss on behalf of Defendants F. King Alexander, Bart

         Thompson, and Andrew Palermo (R. Doc. 45). The motion was filed on May 16, 2019.

         The basis of the motion is the Plaintiff’s failure to state a claim in his Complaint and

         Amended Complaint upon which relief can be granted. In particular, there are legal

         deficiencies with almost all of the Plaintiff’s claims, which deficiencies are obvious from

         the four corners of the Complaint and Amended Complaint; additionally, almost all of the

         Plaintiff’s claims are prescribed on their face. Officer Palermo is also entitled to qualified

         immunity.

         4.     The LSU Defendants anticipate that LSU employee Jennie Stewart, newly added

         as a defendant in the Second Amended Complaint, will likely file a Rule 12(b) motion of

         her own.

         5.     The Plaintiff has a few pending motions for extensions of time, request to appear

         telephonically at the initial conference, and motion for costs of service.


D.       ISSUES

         1.     Plaintiff’s legal issues: (a) Whether any of the Plaintiff’s claims are prescribed and

         whether fraudulent concealment, equitable tolling, and the continuing violation theory is

         applicable or whether the 10 year prescription period on contract claims is applicable. (b)

         Whether immunity will prevent Plaintiff from getting his day in court. (c) Whether Plaintiff

         can recover attorney fees and expenses on legal grounds other than Civil Rights or

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         Americans With Disabilities Act Statutes. (d) Whether Defendants should be Sanctioned

         for Requesting Attorney Fees.

         2.      LSU Defendants’ legal issues: (a) whether all of the Plaintiff’s claims except those

         directly related to his arrest and suspension are prescribed, (b) whether the continuing-

         violation theory is applicable in this case, (c) whether LSU is immune from an award of

         damages under Title II of the ADA, (d) whether the individual LSU defendants are entitled

         to qualified immunity, (e) whether LSU’s policies, procedures, codes, and handbooks

         create binding contractual obligations, (f) whether the Plaintiff’s claims are facially

         plausible, and (g) whether LSU is entitled to recover its attorney fees and costs in the event

         it is successful in defending this suit.

         3.      Defendant Ryan Barsa’s legal issues: (a) whether all of the Plaintiff’s claims are

         prescribed, (b) whether the continuing violation theory is applicable, (c) whether Plaintiff’s

         claims are facially plausible, and (d) whether Mr. Barsa is entitled to recover attorney fees,

         lost time, wages and costs associated in the event he is successful in defending this suit.


E.       DAMAGES

         1.      Plaintiff’s calculation of damages:

                 Damage to Reputation from false arrest: Exceeding $1 million dollars

                 Emotional Trauma from continuous abuse: Exceeding $200,000

                 Legal Costs and Expenses for Defense of Criminal Case: Approximately $10,000

                 Legal Costs and Expense for Civil Case: Exceeds $25,000 as of 4/17/2019

                 Lost Scholarships: Exceeding $10,000

                 Damage to Grades: Exceeding $100,000




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                Lost Wages and Employment Opportunity due to SAA Sanctions: Exceeding

                $200,000

                Value of Lost Time: Exceeding $200,000

                Value of PETE Degree: To be evaluated down the road as this issue becomes more

                clear when Plaintiff evaluates his options for degree completion.

         2.     LSU Defendants’ calculation of offset and/or plaintiff’s damages:         The LSU

         Defendants deny that the Plaintiff has sustained any compensable damages.

         3.     Defendant Ryan Barsa’s calculation of offset and/or plaintiff’s damages: Mr. Barsa

         denies that the Plaintiff has sustained any compensable damages.

         4.     Counterclaimant/cross-claimant/third-party’s     calculation   of   damages:    not

         applicable at this time, as the Defendants have Rule 12 motions that are presently pending

         and will not be required to file responsive pleadings (which could include counter-claims,

         cross-claims, and third-party claims) until a later date. Plaintiff denies any liability to

         defendants and Plaintiff denies that defendants have suffered any compensable damages.


F.       SERVICE

         1.     Plaintiff’s statement regarding service on Defendant Megan Martter: According to

         R. Doc. 17-2, the Plaintiff attempted to serve co-defendant Megan Martter on March 13,

         2019, by leaving a copy of the Summons and Complaint with Ms. Martter’s mother, Karen

         Martter, at 3035 Rosanna Street, Las Vegas, Nevada, 89117. On information and belief,

         Plaintiff has reason to believe that Ms. Martter maintains her permanent address at 3035

         Rosanna Street, yet tends to travel outside of Nevada for Oil & Gas Related employment

         matters. Plaintiff believes that Megan Martter is well aware of the lawsuit and maintains

         consistent communications with her mother. Plaintiff recently requested an extension of

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         time for service on Defendant Megan Martter and recently was emailed an Affidavit of

         Service on Defendant Megan Martter, which he will soon file with the Court.

         2.     LSU Defendants’ statement regarding service on Defendant Megan Martter: By

         Order dated May 28, 2019, the Court gave the Plaintiff sixty (60) additional days to serve

         Megan Martter. The LSU Defendants are unaware whether Plaintiff has ever served Ms.

         Martter.


G.       DISCOVERY

         1.     Initial Disclosures

                A.      The Parties have exchanged Initial Disclosures.

                B.      None of the Parties objects to initial disclosures.

         2.     Briefly describe any discovery that has been completed or is in progress:

                By Plaintiff: None

                By Defendants: None

         3.     Please describe any protective orders or other limitations on discovery that may be

                required / sought during the course of discovery.

                A.      By Plaintiff: Plaintiff will seek to discover educational and LSU police

                records of other students at LSU. Such records are commonly held to be relevant

                in similar student legal cases and are frequently redacted to remove personally

                identifiable information by LSU and other universities. This is FERPA Compliant.

                Any such discovery would be relevant to the Plaintiff’s claims and would be

                proportional to the needs of the case because the Plaintiff believes he has been

                retaliated against, abused, and unfairly targeted. Plaintiff believes this comparator




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              evidence should only be restricted by redaction of personally identifiable

              information or possibly through a protective order.

              B.      By the LSU Defendants: The LSU Defendants anticipate the Plaintiff may

              seek to discover confidential educational records of other students at LSU. Such

              records are protected by the Family Educational Rights and Privacy Act

              (“FERPA”).      Furthermore, any such discovery would not be relevant to the

              Plaintiff’s claims, nor would it be proportional to the needs of the case. The

              Plaintiff’s academic and disciplinary problems at LSU are exhaustively

              documented in his numerous accountability proceedings and hearings, which stand

              on their own as a complete record of the merit (or lack thereof) of the Plaintiff’s

              claims, and the LSU Defendants will object to any attempt to expand discovery to

              include the educational records of any students other than the Plaintiff.

         4.   Discovery from experts:

              A.      Plaintiff has not yet determined if he will offer any expert testimony.

              Potential areas for expert testimony include student discipline, the Plaintiff’s

              disability and accommodation thereof, and law enforcement issues. The Plaintiff

              also reserves the right to retain experts in the same field(s) identified by the

              Defendants.

              B.      Defendant LSU has not yet determined whether it will offer any expert

              testimony. Potential areas for expert testimony include student discipline, the

              Plaintiff’s alleged disability and accommodation thereof, and law enforcement

              issues. LSU also reserves the right to retain experts in the same field(s) identified

              by the Plaintiff.



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                C.      Defendant Ryan Barsa has not yet determined if he will need to offer any

                expert testimony. Barsa may ask LSU students, faculty and administrators who

                were witnesses to the events.


H.       PROPOSED SCHEDULING ORDER

         Initially, the Parties note that it is difficult to propose a scheduling order when there are

         pending Rule 12 motions and no defendants have yet filed responsive pleadings. Rather

         than provide specific dates, LSU has proposed a schedule that is keyed to the Court’s ruling

         on the Rule 12 motions. LSU’s proposal, set forth below, allows four (4) months for

         completion of non-expert discovery after the Court has ruled on the pending Rule 12

         motions and the Defendants have filed any responsive pleadings.



         The Plaintiff does not agree with the proposed scheduling order. Mr. Eustice proposes that

         the deadline for filing all discovery motions and completing all discovery except experts

         be no later than August 31, 2020. Eustice suggests that this is an unusually complex case

         and that discovery may take twice as long as the proposal submitted by LSU.


         LSU’s proposed schedule is as follows:

         1.     If the Parties propose an alternative timeframe for exchanging initial disclosures,

                please provide that proposed deadline: not applicable.

         2.     Recommended deadlines to join other parties or to amend the pleadings: Forty-five

                (45) days after the Court rules on the Rule 12 motions.

         3.     Filing all discovery motions and completing all discovery except experts: One

                hundred thirty-five (135) days after the Court rules on the Rule 12 motions.



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         4.     Disclosure of identities and resumes of expert witnesses:

                Plaintiff: Seventy-five (75) days after the Court rules on the Rule 12 motions.

                Defendant(s): One hundred five (105) days after the Court rules on the Rule 12

                motions.

         5.     Exchange of expert reports:

                Plaintiff: One hundred thirty-five (135) days after the Court rules on the Rule 12

                motions.

                Defendant(s): One hundred sixty-five (165) days after the Court rules on the Rule

                12 motions.

         6.     Completion of discovery from experts: Two hundred ten (210) days after the Court

                rules on the Rule 12 motions.

         7.     Filing dispositive motions and Daubert motions: Two hundred fifty-five (255) days

                after the Court rules on the Rule 12 motions.

         8.     PLAINTIFF WANTS MORE TIME FOR DISCOVERY.


I.       TRIAL

         1.     A demand for jury trial has been made.

         2.     The Parties estimate trial will take 1-2 weeks.


J.       OTHER MATTERS

         Are there any specific problems the parties wish to address at the scheduling conference?

                                       [ X ] YES         [ ] NO

                       i.      If the answer is yes, please explain:




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                    LSU asks the Court to Order the Plaintiff to halt all further direct contact

                    with LSU employees and to limit all further correspondence to counsel for

                    LSU.

                    In response, Mr. Eustice believes he has a few pending issues remaining at

                    LSU and needs to be able to resolve some issues with LSU employees that

                    are unrelated to the lawsuit in question. Eustice believes LSU is trying to

                    run interference and prevent the Plaintiff from resolving these matters, some

                    of which are related to future enrollment and degree completions. Plaintiff

                    has already taken immediate action to reduce his emails being sent to LSU

                    employees and is working with the Defendants. LSU is being really mean,

                    ignoring Plaintiff’s emails for course syllabi needed for transfer credits,

                    ignoring emails for other legitimate issues, and is holding his PETE degree

                    hostage.

                    Also, Mr. Eustice requests a Court Order directing LSU to award his PETE

                    degree and correct LSU’s inaccurate records.

                    Also, the Parties have conferred regarding the pending Rule 12(b) motions

                    as directed by the Court’s Order of July 7, 2019, and now inform the Court

                    as follows: (a) the Second Amended Complaint no longer asserts any

                    claims related to the suicide and attempted suicide of the Plaintiff’s former

                    roommates, no longer asserts any claims regarding NFL Commissioner

                    Roger Goodell, and no longer alleges that the LSU Police Department stole

                    a bicycle from a police evidence room in Dallas, Texas. Accordingly, the

                    arguments in the Rule 12(b) motions regarding those claims and allegations



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                      are now moot; (b) the LSU Defendants anticipate that LSU employee Ms.

                      Jennie Stewart, who was just added as a new defendant via the Second

                      Amended Complaint, will likely file a Rule 12(b) motion of her own; (c)

                      the LSU Defendants believe the pending motions should be refiled to

                      address specifically the allegations in the Second Amended Complaint,

                      which will also have the benefit of consolidating all of the arguments

                      currently spread across multiple motions and numerous supporting briefs

                      into a single pleading; and (d) Plaintiff disagrees that all the numerous

                      Motions and responses need to be refiled, because the two Amended

                      complaints only varied slightly from the Original Complaint. Plaintiff

                      believes that LSU is using this as an opportunity to correct their legally

                      deficient arguments.

                      ii.     If the answer is no, do the parties want the court to cancel the

                      scheduling conference and to enter a scheduling order based on the

                      deadlines set out in this report? CHECK “NO” IF YOU HAVE NOT

                      SUBMITTED JOINT PROPOSED DEADLINES?

                                      [ ] YES       [ X ] NO


K.       SETTLEMENT

         1.   Please set forth what efforts, if any, the parties have made to settle this case to date:

              The Plaintiff made separate settlement offers to LSU and to Mr. Barsa in February

              2019. The Plaintiff believes the settlement offers were reasonable. LSU responded

              that it was not interested in settling at the present time. Mr. Barsa denied the offer.




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         2.     Do the parties wish to have a settlement conference:

                The Plaintiff would like to have a settlement conference after the Rule 12 Motions

                are decided and possibly before Discovery begins. Plaintiff believes this is best

                for all parties involved.

                LSU is not interested in having a settlement conference at the present time.

                Mr. Barsa is not interested in having a settlement conference at the present time.


L.       CONSENT TO JURISDICTION BY A MAGISTRATE JUDGE

         All parties agree to jurisdiction by a Magistrate Judge of this court:

                                        [ ] YES         [ X ] NO

                                            Respectfully submitted,

                                            s/Christopher D. Eustice
                                            Plaintiff Pro Se
                                            655 West Forest Drive
                                            Houston, Texas 77079
                                            Telephone: (832) 259-1634


                                            s/Ryan S. Barsa
                                            Defendant Pro Se
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                                            Mendham, New Jersey 07945
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                                            Andrew Palermo

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                                           CERTIFICATE

         I hereby certify that a copy of the foregoing was filed electronically with the Clerk of Court

using the CM/ECF system. I also certify that I have mailed by United States Postal Service this

filing to the following non-CM/ECF participants:

             Mr. Christopher D Eustice               Mr. Ryan Barsa
             Plaintiff Pro Se                        Pro Se Defendant
             655 West Forest Drive                   20 Conifer Drive
             Houston, Texas 77079                    Mendham, New Jersey 07945

         Baton Rouge, Louisiana, this 25th day of July, 2019.



                                                s/John P. Murrill
                                                John P. Murrill




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